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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                :
In re:                                                          :   Chapter 11
                                                                :
ORION HEALTHCORP, INC1.                                         :   Case No. 18-71748 (AST)
                                                                :
                                            Debtors.            :   (Jointly Administered)
                                                                :
HOWARD M. EHRENBERG IN HIS CAPACITY                             :
AS LIQUIDATING TRUSTEE OF ORION                                 :   Adv. Pro. No. 20-08052 (AST)
HEALTHCORP, INC., ET AL.,                                       :
                                                                :
                                            Plaintiff,          :
                                                                :
v.                                                              :
                                                                :
ABRUZZI INVESTMENTS, LLC; JOHN                                  :
PETROZZA,                                                       :
                                                                :
                                            Defendants.         :
                                                                :



                 JOINT STATEMENT OF UNCONTROVERTED
         FACTS IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY
     JUDGMENT OR, IN THE ALTERNATIVE, SUMMARY ADJUDICATION; AND

         PLAINTIFF’S SEPARATE STATEMENT OF ADDITIONAL
   UNCONTROVERTED FACTS IN SUPPORT OF PLAINTIFF’S MOTION FOR
SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, SUMMARY ADJUDICATION




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748.
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                  Comes now, the Parties, and submit the agreed on Joint Separate Statement of

Uncontroverted Facts with respect to Plaintiff’s Motion for Summary Judgment;


I.         JOINT STATEMENT OF UNCONTROVERTED FACTS


                       Statement of Fact                                 Evidentiary Support

     1.     The Debtors were a consolidated enterprise of      Stipulated Fact.
            several companies aggregated through a series
            of acquisitions which operated in the healthcare
            sector primarily in revenue and practice
            management for physician practices.

     2.     Defendant John Petrozza is an individual           Stipulated Fact.
            residing in the State of Florida and who owns
            the Marina located at 225 Ellis Street, Staten
            Island, NY.

     3.     Defendant Abruzzi Investments, LLC is a            Stipulated Fact.
            Limited Liability Corporation that has no
            employees, officers or directors but is managed
            by Defendant Petrozza for the sole purpose of
            investing his monies.

     4.    In 2015 or 2016 Defendant Petrozza thought of       Stipulated Fact.
           Mr. Parmar as a very close friend who
           socialized at Mr. Parmar’s residence.

     5.    In June 2013, Defendants believed they were         Stipulated Fact.
           investing $4MM in Constellation Health
           Investment which allegedly had an ownership
           interest in the Debtor Orion.

     6.     On July 3, 2018, Defendant Abruzzi                 Stipulated Fact.
            Investments, LLC filed claim no. 10062 in the
            bankruptcy case, identifying itself as a
            shareholder (common stock) of Constellation
            Healthcare Technologies, Inc.
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                  Statement of Fact                                 Evidentiary Support

7.      On July 3, 2018, Defendant Abruzzi                Stipulated Fact.
        Investments, LLC filed claim no. 10063 on July
        3, 2018, asserting it held a 49% member
        interest in Constellation Healthcare
        Technologies, Inc.

8.      FTI Consulting, Inc. (“FTI”) was appointed in     Stipulated Fact.
        September 2017 to conduct a forensic
        examination of the Debtors’ business following
        questions raised as to CHT’s financial
        condition.

9.      Timothy J. Dragelin served as the Debtors’        Stipulated Fact.
        CEO and CRO shortly after the resignation of
        executives Parmar, and termination of Sam
        Zaharis, and Ravi Chivukula on September 29,
        2017, and through the filing of the Petition,
        restructuring and sale of the Debtors’ assets.

10.     On September, 16, 2015, the Debtor CHT            Stipulated Fact.
        acquired Phoenix Health, LLC for 14.0 million,
        and acquired its business. However, Phoenix
        had no business, assets or employees and was a
        fictitious entity.

11.     On September, 18, 2015, the Debtor CHT            Stipulated Fact.
        acquired Northstar Acquisition, LLC for 18.0
        million, and acquired its business. However,
        Northstar had no business, assets or employees
        and was a fictitious entity.

12.     On February 10, 2016, CHT acquired MDRX           Stipulated Fact.
        Medical Billing, LLC (“MDRX”) for 28MM.

13.     MDRX had no assets, employees, conducted no       Stipulated Fact.
        business and was a sham transaction with fake
        revenue.
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                   Statement of Fact                                 Evidentiary Support

14.     In November 2016, as part of the Go-Private        Stipulated Fact.
        Transaction, Defendant Petrozza met with
        Parmar and the Board of Directors and
        approved the Go-Private Transaction so they
        could all make a gazillion dollars.

15.     The Operating Agreement of Lexington               Stipulated Fact.
        Landmark Services, LLC identifies Defendant
        Petrozza as the 100% owner member.

16.     As far as Petrozza knew, Lexington Landmark        Stipulated Fact.
        Services, LLC did not exist as a legitimate
        business, Petrozza’s signature was forged, and
        he never gave Robinson Brog authority to
        receive monies on behalf of such entity.

17.     As far as Petrozza knew, the documents filed       Stipulated Fact.
        with the IRS on behalf of Lexington Landmark
        Services, LLC in December 2016 were for a
        bogus company.

18.     On January 30, 2017, approximately                 Stipulated Fact.
        $46,000,000 that resulted from the Go-Private
        transaction was transferred into the Debtor’s
        IOLA account at the firm of Robinson Brog and
        listed under a caption that reads “Constellation
        Health/CHT Closing”.

19.     BOFA is the largest creditor in the bankruptcy     Stipulated Fact.
        case with an outstanding secured claim in the
        amount of $158,200,710.89.

20.     In accordance with the Bankruptcy Court’s          Stipulated Fact.
        Order dated, June 26, 2018, Robinson Brog was
        ordered to turn over the IOLA account
        statement for escrow funds held on behalf of the
        Debtors and the non-debtor entities listed on
        exhibit A to the Order.

21.     On June 28, 2018, the unredacted Robinson          Stipulated Fact.
        Brog IOLA Quick Report was produced that
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                  Statement of Fact                                 Evidentiary Support
        shows $4MM deposited from Abruzzi
        Investments, LLC.

22.     Defendant Petrozza testified that on May 24,      Stipulated Fact.
        2017, he asked Paul Parmar for a personal loan
        of $200,000 to lease a house and cannot explain
        why the sum disbursed was $250,000.

23.     Petrozza was not certain why he received          Stipulated Fact.
        $200,000 from Parmar via Wingman Health
        Corp.

24.     On June 28, 2017, $250,000 was liquidated     Stipulated Fact.
        from an Investment Account of Abruzzi
        Investments, LLC and forwarded to Defendants’
        checking account.

25.     On June 29, 2017, Defendant Abruzzi               Stipulated Fact.
        Investments, LLC, wired $250,000 to Sunshine
        Star, LLC.

26.     Defendant Petrozza and Abruzzi performed no       Stipulated Fact.
        service for the Debtor.

27.     According to Petrozza, he needed the money        Stipulated Fact.
        quickly for his move to Florida and there was
        no documentation for the loan as in the past
        they were made by a handshake.

28.     Defendants are not aware whether the funds        Stipulated Fact.
        sent to Sunshine Star LLC benefitted the
        Debtors.
                                                          Stipulated Fact.
29.    Petrozza suspected in January 2017 that Parmar
       was having financial issues and could not pay
       his bills.
                                                          Stipulated Fact.
30.    Defendant Petrozza was struggling for cash at
       the time of the Transfer and had no liquidity.
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                  Statement of Fact                                  Evidentiary Support

31.     On December 16, 2015, the Southern District        Stipulated Fact.
        Court of Texas issued a Judgment in the amount
        of $194,185, against the Debtor Orion
        Healthcorp, Inc. in favor of former employees
        Jack McBride and Alan Nottingham for unpaid
        deferred compensation. The Judgment was
        filed as a proof of claim in Case No. 8-18-
        71748, and assigned claim no. 10001. The filed
        claim remains unsatisfied.
                                                           Stipulated Fact.
32.     On March 9, 2016, a lawsuit was initiated in the
        Supreme Court of the State of New York by
        Criterions, LLC, against the Debtors Physician
        Practice Plus, LLC and Constellation Healthcare
        Technologies, Inc.
                                                           Stipulated Fact.
33.     Judgment was entered on November 30, 2017,
        against the Debtors Physician Practice Plus,
        LLC and Constellation Healthcare
        Technologies, Inc. in the amount of $77,767.26.
                                                           Stipulated Fact.
34.     On March 23, 2018, a Suggestion of
        Bankruptcy was filed by the Debtors Physician
        Practice Plus, LLC and Constellation Healthcare
        Technologies, Inc Supreme Court of the State of
        New York.
                                                           Stipulated Fact.
35.     Defendant Petrozza asserts he was an investor at
        the time of the go-private transaction as he
        wanted to grow his investment of $4MM to $16-
        24 MM.
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               Comes now, Plaintiff, and submits his Separate Statement of Additional

Uncontroverted Facts with respect to Plaintiff’s Motion for Summary Judgment. Defendants do

not stipulate to the following facts:

II.      PLAINTIFF’S ADDITIONAL SEPARATE STATEMENT OF FACT


  36.     On February 19, 2016, $5,058,408.81, was             See, Affidavit of Edith Wong (“Affidavit
          transferred out of the Debtor Constellation          of E. Wong”), ¶5, referencing, February
          Healthcare Technologies, Inc, bank account to        2016 M&T Bank Statement, attached as
          the IOLA account at the firm of Robinson Brog.       Exhibit A to the Affidavit.

  37.     On August 10, 2016, $12,740,000 was                  See, Affidavit of E. Wong, ¶5,
          transferred out of the Debtor Constellation          referencing, August 2016 M&T Bank
          Healthcare Technologies, Inc, bank account to        Statement, attached as Exhibit B to the
          the IOLA account at the firm of Robinson Brog.       Affidavit.

  38.     On March 10, 2017, $5,590,000 was transferred        See, Affidavit of E. Wong, ¶6,
          out of the Debtor Orion HealthCorp. Inc., bank       referencing March 2017, JP Morgan
          account to the IOLA account at the firm of           Chase Bank Statement, attached as
          Robinson Brog.                                       Exhibit C to the Affidavit.

  39.     For the fiscal year 2014, 23 million dollars         See, Affidavit of Frank Lazzara
          borrowed by Orion was deposited and appeared         (“Affidavit of F. Lazzara”), ¶7,
          in the IOLA account which debt was reflected         referencing 2014 Audited Consolidated
          in the audited Consolidated Financial                Financial Statement, attached as Exhibit
          Statements of the Debtors as “net proceeds from      2 to the Affidavit.
          long term debt”.

  40.     The Escrow Account balance in the IOLA               See, Affidavit of F. Lazzara, ¶8,
          account for year ending 2016 of $7,280,279.00        referencing CHT general ledger, CHT
          was reflected in the CHT general ledger balance      balance sheet and Audited Financials for
          as $7,255,363.00 which comprised nearly all of       2016, attached as Exhibits 5, 6 and 7 to
          the cash balance reported on CHT’s balance           the Affidavit
          sheet in its audited financials for the year ended
          December 31, 2016.

  41.     Escrow statements found as attachments to            See Affidavit of F. Lazzara, ¶6,
          email communications from April 2016 to              referencing E-mail dated September 27,
          September 2017 indicate that the IOLA Account        2017, and IOLA Account statement
          provided by Robinson Brog during routine             attached as Exhibit 1 to the Affidavit.
          reporting consisted of a cumulative report
          containing all account activity to the Debtors’
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        former senior management on a consolidated
        basis and did not differentiate between debtor
        and non-debtors.

42.     At the end of 2016, the IOLA account funds          See, Affidavit of F. Lazzara, ¶9,
        were used to pay Robinson Brog legal fees for       referencing December 22, 2016 email
        Debtor, including as incurred for the Go-Private    and Billing Memorandum, attached as
        Transaction.                                        Exhibits 3 and 4 to the Affidavit.

43.     Despite making a number of acquisitions in          See, Affidavit of Jeffrey P. Nolan
        2016, the Debtor was unable to generate             (“Affidavit of J. Nolan”), ¶5, referencing
        additional revenue and in fact generated less       Expert Report of Craig Jacobsen, ¶47,
        revenue than 2015, which illustrates the            p. 12, attached as Exhibit 4 to the
        fictitious nature of the acquisitions by Orion.     Affidavit.

44.     Robinson Brog incorporated Lexington                See, Affidavit of J Nolan, ¶3, referencing
        Landmark Services, LLC, on November 17,             Certificate of Formation, Depo. of J.
        2016.                                               Petrozza, PET Ex. 7; attached as Exhibit
                                                            2 to the Affidavit;

                                                            See, Affidavit of E. Wong referencing
                                                            Ehren-Abruzzi 000030; attached as
                                                            Exhibit D to the Affidavit.

45.     Pulsar Adance [sic] Care, LLC was created           See, Affidavit of J. Nolan, ¶3,
        pursuant to the Operating Agreement on              referencing Operating Agreement
        November 17, 2016, and which identifies Salil       attached as Exhibit 2, to the Affidavit,
        Sharma, Parmar’s brother-in-law, as the 100%        and Deposition of Petrozza, pg. 84, 3-20
        owner member.                                       attached as Exhibit 2 to the Affidavit.

                                                            See, Affidavit of E. Wong referencing
                                                            Ehren-Abruzzi 00040-45; attached as
                                                            Exhibit F to the Affidavit;

46.     Sam Zaharis indicated he would need to have       See, Affidavit of E. Wong referencing
        authority to open bank accounts for the differing Email dated January 23, 2017, PET Ex.
        legal entities to receive the Go-Private monies.  11; Ehren-Abruzzi 000030; attached as
                                                          Exhibit G to the Affidavit.

47.     Without operational bank accounts, Robinson         See, Affidavit of E. Wong referencing
        Brog indicated they would receive proceeds          Correspondence from Robinson Brog
        from the privatization transaction.                 dated January 25, 2017, and letters of
                                                            consent for each company to Martin
                                                            Lilly; Ehren-Abruzzi 000030-39 attached
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                                                         as Exhibit H to the Affidavit.

48.     Axis Medical Services, LLC, Lexington            See, Affidavit of E. Wong referencing
        Landmark Services, LLC, and Pulsar Advanced      Correspondence dated December 5,
        Care, LLC, all located at the same address in    2016, from the Internal Revenue Service,
        Hazlet, NJ, were assigned Employer               attached as Exhibit I to the Affidavit.
        identification numbers by the IRS on the same
        day, December 5, 2016.

49.     Axis Medical Services, LLC and Vega         See, Affidavit of J. Nolan referencing
        Advanced Care, LLC were bogus companies set Depo. of Petrozza, pp. 135-136, lns. 18-
        up under the name of Mr. Vardi for the Go-  6; Attached as Exhibit 2 to the Affidavit.
        Private Transaction.

50.     Vega Advanced Care, LLC, located at the same     See, Affidavit of E. Wong referencing
        address in Hazlet, NJ, was assigned Employer     Correspondence dated December 12,
        identification number by the IRS on December     2016, from the Internal Revenue Service,
        12, 2016.                                        attached as Exhibit J to the Affidavit.

51.     Pursuant to the Credit Agreement, Bank of        See, Affidavit of E. Wong referencing
        America (“BOFA”) advanced to the Debtors         Credit Agreement, dated January 30,
        $130,000,000 in debt to fund the Go-Private      2017 among Bank of America and the
        Transaction.                                     Borrowers; attached as Exhibit K to the
                                                         Affidavit.

52.     The Credit Agreement with BOFA was               See, Affidavit of E. Wong referencing
        executed by all of the Debtors and was secured   Note and Pledge Agreement dated
        by all of the Debtors’ assets.                   January 30, 2017 among Bank of
                                                         America and the Borrowers; attached as
                                                         Exhibit L to the Affidavit.

53.     On May 24, 2017, at 8:39 pm, Parmar directed     See, Affidavit of E. Wong referencing
        Mitchell Greene at Robinson Brog to wire         Email dated May 24, 2017, Ehren-
        $250,000 from the Robinson Brog IOLA             Abruzzi 000018; attached as Exhibit M
        account to Defendant Abruzzi Investments,        to the Affidavit.
        LLC.

54.     Parmar directed Robinson Brog to take from       See, Email dated May 24, 2017, from
        any escrow.                                      Paul Parmar; attached to the Affidavit of
                                                         E. Wong as Exhibit M.

55.     On May 25, 2017, Robinson Brog confirmed to      See, Affidavit of E. Wong referencing
        Paul Parmar and Sam Zaharis at Constellation     Email dated May 25, 2017, Ehren-
        the debit and wire of $250,000 from the IOLA     Abruzzi 000019; attached as Exhibit N to
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        account.                                            the Affidavit.

56.     At the request of Paul Parmar, his girlfriend       See, Affidavit of Elena Sartison;
        Elena Sartison opened a bank account at M&T         referencing Ex B, Bank Statement for
        Bank for Sunshine Star LLC, with an address of      Sunshine Star, LLC, for the period
        16 Colts Gait Lane, Colts Neck NJ.                  August 1, 2017 to August 31, 2017
                                                            attached to the Affidavit.

57.     The Debtor’s books and records evidence no          See, Affidavit of F. Lazzara, ¶ 11.
        antecedent debt owed to Sunshine Star, LLC
        and satisfied as a result of the June 29, 2017
        transaction.

58.     The Debtor’s books and records evidence no          See, Affidavit of F. Lazzara, ¶ 11.
        antecedent debt owed to Petrozza and/or
        Abruzzi Investments, LLC between January 1,
        2017 and December 31, 2017.

59.     The account at M&T Bank for Sunshine Star,          See, Affidavit of J. Nolan referencing
        LLC was closed on October 16, 2017.                 M&T Bank Statement, Abruzzi M&T
                                                            000007-08; attached as Exhibit 5 to the
                                                            Affidavit.

60.     The Debtor’s records evidence no antecedent         See, Affidavit of F. Lazzara, ¶11.
        debt satisfied concurrently with the diversion of
        the $250,000.



Dated: February 22, 2022          PACHULSKI STANG ZIEHL & JONES LLP
                                  By:     /s/ Jeffrey P. Nolan
                                          Ilan D. Scharf, Esq.
                                          Jeffrey P. Nolan, Esq. (admitted pro hac vice)
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                                          Counsel for the Plaintiff,
                                          Howard M. Ehrenberg in his capacity as
                                          Liquidating Trustee of Orion Healthcorp, Inc., et al.
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Dated: February 22, 2022     GIULIANO LAW. P.C.
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